Case 2:03-CV-02742-SHI\/|-STA Document 39 Filed 05/09/05 Page 1 of 2 Page|D 55

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IN THE UNITED sTATEs msTRICT CoURT “»-
FOR THE WESTERN DISTRICT oF TENNESSEE 95 HA-Y -»g pH ,
WESTERN DIVISION " 90
HOBEHY ii i§" '»'.';~;
HoME I)ESIGN SERVICES, INC., ) ;,S§';FF¢-i<;_, a iv;§;`~,o“~?
) , ._ J, z:_)l" ;f-.`l f._rr`|[:lr¥,:p!ns'
Plainciff, )
)
v. ) NO. -OB-ZWMa/An
)
GREAT AMERICAN HoNEs 0F ) _ ' ,
MEMPHIS, LLC, et al., ) 03 / Q 7 41 jj /i~i CL/Q’f\
) _
Defendants. )

 

ORI)ER DENYING MOTION FOR ENLARGEMENT OF TIME
TO EFFECT SERVICE OF` PROCESS ON DEFENDAN'I`S

 

Before the Court is P]aintiff" s Motion for Enlargement of Time to Effect Service of
Process on Defendants filed on Decernber 3, 2004. Defendants Homes Extraordiniare
Realtor/Builder, LLC, Jeft` Hirsh, and Robert Hirsh have been served and have filed their Answer
to P]aintift’s Cornplaint. Therefore, after due considerati.on, the instant Motion is DENIED
without prej udice. Plaintiff may re-fiie the instant motion if additional time is needed to effect
service of process on the remaining Defendants.

IT IS SO ORDERED.

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S. ']`HOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: M/?r/», cO@,, 20¢11/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:03-CV-02742 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

